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14

15                              UNITED STATES DISTRICT COURT
16               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
17 GARY FEITELSON, a Kentucky resident, and           CASE NO. 5:14-CV-02007 BLF
18 DANIEL MCKEE, an Iowa resident, on behalf
   of themselves and all others similarly situted.;   PLAINTIFF MARY CARR’S
19                                                    OPPOSITION TO GOOGLE LLC’S
                  Plaintiffs,                         ADMINISTRATIVE MOTION TO
20                                                    CONSIDER WHETHER CASES SHOULD
          vs.                                         BE RELATED
21
   GOOGLE, INC.;
22
                  Defendant.
23

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            Pursuant to Local Rule 3-12, Plaintiff Mary Carr, on behalf of herself and all others similarly
 1

 2 situated, submits this Opposition to Google, LLC’s Administrative Motion to Consider Whether

 3 Cases Should be Related (“Motion”). Judge Donato, who is presiding over Epic Games, Inc. v.

 4 Google, LLC et al., Case No. 3:20-cv-05671 (“Epic”), has already determined that Carr, et al. v.

 5
     Google, LLC, et al., Case No. 5:20-cv-05761 (“Carr”), and Pure Sweat Basketball, Inc. v. Google,
 6
     LLC, et al., Case No. 3:20-cv-05792-EMC (“PSB”), are related to Epic and ordered those cases
 7
     transferred to his court. For its part, Google admits all of those cases are related. Nevertheless,
 8
     Google’s present Motion posits that Epic, Carr and PSB “may” be related to Feitelson v. Google,
 9

10 Inc., Case No. 14-cv-02007 (“Feitelson”), a lawsuit dismissed over five years ago.

11           Epic, Carr and PSB all concern the same subject matter (Google’s restrictions on Android-

12 compatible hardware manufacturers and application developers), factual and expert inquiry

13
     (whether such restrictions result in anticompetitive harm in a relevant antitrust market), and claims
14
     (federal and state antitrust laws). The same is not true of Feitelson. That case focused on Google’s
15
     behavior in the search engine market and involved different parties, conduct and classes. Moreover,
16

17 Feitelson was dismissed in 2015, so there is no risk of duplicative efforts or inconsistent results with

18 Epic, Carr and/or PSB if the cases are not related. Local Rule 3-12 ensures related cases proceed

19 efficiently and consistently. Relating newly filed app distribution and use cases to a long-defunct

20 search engine lawsuit does not serve that goal. Feitelson is not related to Epic, Carr and/or PSB.

21
                           FACTUAL AND PROCEDURAL BACKGROUND
22
            On August 13, 2020, Plaintiff Epic Games, Inc. (“Epic”) filed suit against various Google
23
     entities (collectively “Google”) for violating the Sherman Antitrust Act, the California Cartwright
24

25 Act and the California Unfair Competition Law. (See Epic Compl., attached as Ex. 1). Three days

26 later, on August 16, 2020, Plaintiff Mary Carr sued the same defendants on behalf of “[a]ll persons
27 in the United States who paid for an app on Google Play, subscribed to an app obtained on Google

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     Play, or paid for in-app digital content on an app obtained on Google Play….” (See Carr Compl.
 1

 2 at ¶109, attached as Ex. 2). Finally, on August 17, 2020, PSB filed suit against those defendants

 3 on behalf of “[a]ll U.S. developers of: (a) any paid Android OS app sold in or via the Google Play

 4 store, or (b) any paid in-app product (including subscriptions) sold in the Google Play store or via

 5
     apps distributed in or via the Google Play store.” (See PSB Compl., at ¶140, attached as Ex. 3).
 6
            Judge Donato, who is presiding over Epic, has already ruled that Carr and PSB are related
 7
     to that case and should be transferred to his court. (See Epic ECF Docs. 42 & 46, Related Case
 8
     Orders, attached as Ex. 4 & 5). Google’s present Motion admits that Epic, Carr and PSB are
 9

10 related. (Google’s Mot. at p. 1 & 2). Briefly, those cases allege Google is abusing its monopoly

11 power in the Android app market by: (1) forcing manufacturers to pre-install and prominently

12 display the Google Play Store icon; (2) prohibiting the distribution of an app through Google Play

13
     Store that helps users bypass the Store for app downloads or purchases; (3) conditioning use of
14
     Google advertising on app distribution through Google Play Store; (4) inhibiting consumers’
15
     ability to circumvent the Google Play Store; (5) tying app distribution through the Google Play
16

17 Store to an agreement to exclusively use Google Play Billing for in-app purchases; and (6) using

18 its role in app distribution and purchasing to enhance Google’s revenue-generating services. (Ex.

19 1, Epic Compl.; Ex. 2, Carr Compl.; Ex. 3, PSB Compl.)

20          Epic, Carr and PSB will require a showing that Google’s restrictions on original equipment
21
     manufacturers (“OEMs”) (such as Samsung) and app developers (such as Epic) cause an
22
     anticompetitive impact in the Android app distribution and in-app payment processing markets.
23
     Plaintiffs must produce economic testimony establishing not only the same relevant markets, but
24

25 harm within those markets—an inquiry involving overlapping factual and expert evidence. The

26 cases also require a showing that no procompetitive impact outweighs Google’s marketplace harm,
27 another inquiry requiring essentially identical evidence. Simply put, Epic, Carr and PSB involve

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     the same conduct, markets, facts showing an impact on market participants (including consumers),
 1

 2 and legal claims. They are related.

 3          Feitelson, in contrast, centered on the Internet search market and alleged Google abused its

 4 monopoly power in that market by forcing OEMs to make Google the default search engine on

 5
     Android devices. (See Feitelson Compl., attached as Ex. 6). Proposed class members were Android
 6
     equipment purchasers whose devices featured Google as the default search engine because of the
 7
     company’s anticompetitive behavior. (Id. at ¶84). The case alleged those purchasers paid more for
 8
     their devices because Google’s behavior deprived OEMs of revenue that might otherwise have
 9

10 subsidized prices. (Id. at ¶ 71-73). Feitelson, therefore, involved a different market and—had it

11 survived the pleading stage—would have involved an entirely different theory of market effects.

12          While Feitelson discussed Google’s Mobile Application Distribution Agreement
13
     (“MADA”), its sole focus was how that agreement forced OEMs to select Google as the default
14
     search engine. (Id. at ¶35-36, 41-42, 52). Feitelson did not mention app developers, distributors or
15
     users, did not discuss how Android apps were distributed, and did not address how users made in-
16

17 app purchases. (Id. at ¶59-73). Feitelson was dismissed at the pleading stage in 2015. See Feitelson,

18 et al. v. Google, Inc., 80 F.Supp.3d 1019 (N.D. Cal. 2015).

19                                             ARGUMENT
20 I.       LEGAL STANDARD
21
            Under Local Rule 3-12(a), actions are related when they “concern substantially the same
22
     parties, property, transaction or event” and “[i]t appears likely that there will be an unduly
23
     burdensome duplication of labor and expense or conflicting results if the cases are conducted before
24

25 different judges.” L.R. 3-12(a) (2020). To determine relatedness, courts consider the parties,

26 procedural posture, claims and underlying facts. See Pepper v. Apple, Inc., 2019 WL 4783951 (N.D.
27

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     Cal. August 22, 2019). The specific relief sought is not a factor because “courts routinely relate
 1

 2 cases in which the theories of damages differ.” Id. at *2.

 3 II.       FEITELSON IS NOT RELATED TO EPIC, CARR OR PSB.

 4           As described above, Judge Donato has already ruled that Epic, Carr and PSB are related and
 5
     Google agrees. Those newly-filed lawsuits concern the same defendants, markets, agreements,
 6
     abusive conduct governing Android app distribution and in-app purchasing and antitrust claims. By
 7
     party admission, Local Rule and judicial Order, they are related.
 8
             The same is not true of Feitelson. That lawsuit involved:
 9

10          Different markets (search engine vs. app distribution/in-app payment processing);

11          Different classes (Android device purchasers vs. Android app developers and users who
             utilize Google’s app distribution and payment processing);
12

13          Different conduct (abuse of power over OEMs to stifle search engine competition vs. abuse
             of power over app developers to stifle distribution outside of Google Play Store and/or in-
14           app payment processing outside of Google Play Billing); and

15          Different theories of competitive impact (an alleged overcharge in the cost of Android
             phones vs. an overcharge on app and in-app purchases by virtue of Google’s toll to use
16
             Google Play Store and/or Google Play Billing).
17
             Google’s argument otherwise cannot survive scrutiny. For instance, Google claims the
18
     cases all focus on Google contracts “regarding the preloading and placement of Google apps on
19
     Android devices.” (Google’s Mot. at p. 3). However, even a cursory inspection of Feitelson reveals
20

21   no meaningful discussion of Android apps. Nor is there any mention of other Google agreements

22   (for example, the Developer Distribution Agreement) at issue in Epic, Carr and PSB. There is
23   certainly no examination of how such apps are distributed or how consumers make in-app
24
     purchases—the inquiries at the heart of those lawsuits.
25
         Similarly, Google claims the complaints allege “overlapping” anticompetitive theories because
26
     they all discuss how Google uses the MADA “to purportedly foreclose competition in the markets
27

28 alleged in each complaint….” (Id.) Again, this paints with too broad a brush. The competition
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     allegedly foreclosed (competing search engines vs. competing app delivery and payment systems)
 1

 2 is markedly different. Epic, Carr and PSB have nothing to do with Yahoo or Bing – the foreclosed

 3 search engine competition. Conversely, Feitelson had nothing to do with competing app distribution

 4 platforms or payment processing options. Even Google admits Epic, Carr and PSB involve different

 5
     markets than Feitelson. (Id.) Google also fails to acknowledge that Feitelson never even mentions
 6
     the “in-app payment processing market,” a market whose function is a significant focus in the other
 7
     three lawsuits. These differences are not minor. They go to the core inquiries and evidence
 8
     presented in an antitrust case—the markets involved, the anticompetitive conduct alleged and the
 9
                   1
10 resulting harm.

11          Finally, Feitelson was dismissed in 2015, so there is no risk of duplicative efforts or

12 inconsistent results if Epic, Carr and PSB are not related. L.R. 3-12(a). Google does not explain

13
     how relating those cases to Feitelson would somehow streamline proceedings or conserve resources.
14
     Moreover, considering Feitelson ended over five years ago, there is little threat of inconsistent
15
     rulings. These facts alone defeat any attempt to relate Epic, Carr and PSB to Feitelson.
16

17                                            CONCLUSION

18          For these reasons, the Court should deny Google’s Administrative Motion and rule that Epic,

19 Carr and PSB do not relate to Feitelson.

20

21

22
    The Court should also reject Google’s suggestion that all of these cases be transferred to the San
     1

23 Jose Division of this Court due to §16.8 of Google’s DDA and/or Terms of Service. (Google’s
   Mot. at p. 2 n.3). Google subjected itself to the jurisdiction of the Northern District of California
24 and cannot circumvent Local Rule 3-12. Even assuming without conceding that plaintiffs were
   required to file suit in the San Jose Division of this Court, they abided by that obligation. (See Ex.
25
   1, Epic Compl., Ex. 2, Carr Compl. & Ex. 3, PSB Compl.) Google does not explain why a federal
26 court cannot, as a matter of discretion over its docket, transfer a properly filed case to another
   division in the interests of judicial efficiency and consistency. In fact, the opposite is true. See,
27 e.g., Chapman Univ. v. Atlantic Richfield Co., 2013 WL 12126015 at *4 & 6 (C.D. Cal. 2/25/13);
   Barto v. Alon USA Energy, Inc., 2012 WL 13020327 at *3 (C.D. Cal. 10/3/12).
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           Dated: September 14, 2020                    s/ Jamie L. Boyer
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21                                  CERTIFICATE OF SERVICE
22        The undersigned hereby certifies that a true and correct copy of the foregoing was served
   upon all parties of record on September 14, 2020, through the Court’s Electronic Case Filing
23 System.

24                                                      /s/ Jamie L. Boyer
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